           Case 2:17-cv-00035-VAP-KS Document 45 Filed 05/22/17 Page 1 of 18 Page ID #:848



                    1   MORGAN, LEWIS & BOCKIUS LLP
                        David L. Schrader, Bar No. 149638
                    2   david.schrader@morganlewis.com
                        Esther K. Ro, Bar No. 252203
                    3   esther.ro@morganlewis.com
                        Jahmy S. Graham, Bar No. 300880
                    4   jahmy.graham@morganlewis.com
                        300 South Grand Avenue
                    5   Twenty-Second Floor
                        Los Angeles, CA 90071-3132
                    6   Tel: +1.213.612.2500
                        Fax: +1.213.612.2501
                    7
                        Attorneys for Defendant
                    8   Toyota Motor Sales, U.S.A., Inc.
                    9
                 10                                UNITED STATES DISTRICT COURT
                 11                              CENTRAL DISTRICT OF CALIFORNIA
                 12
                 13     PAUL STOCKINGER, ELIZABETH               Case No. 2:17-cv-00035-VAP (KSx)
                        STOCKINGER, GAILYN KENNEDY,
                 14     BASUDEB DEY, BRENDA FLINN,               DEFENDANT TOYOTA MOTOR
                        ELIEZER CASPER, and YVETTE               SALES, U.S.A., INC.’S REPLY IN
                 15     ALLEY on behalf of themselves and all    SUPPORT OF MOTION TO
                        others similarly situated,               DISMISS FIRST AMENDED
                 16                                              COMPLAINT
                                                Plaintiffs,
                 17                                              Date:    June 5, 2017
                                          vs.                    Time:    2:00 p.m.
                 18                                              Judge:   Hon. Virginia A. Phillips
                        TOYOTA MOTOR SALES, U.S.A.,              Ctrm:    8A, 8th Floor
                 19     INC., a California corporation,
                 20                             Defendant.
                 21
                 22
                 23
                 24
                 25
                 26
                 27
                 28
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW
   LOS ANGELES
                                                                          REPLY ISO MOTION TO DISMISS FAC
                        DB1/ 92240108.7
          Case 2:17-cv-00035-VAP-KS Document 45 Filed 05/22/17 Page 2 of 18 Page ID #:849



                    1                                          TABLE OF CONTENTS
                    2                                                                                                                     Page
                    3   I.         INTRODUCTION ....................................................................................... 1
                    4   II.        ARGUMENT .............................................................................................. 2
                    5         A.        Plaintiffs Fail To Plead The Existence Of An HVAC Defect .............. 2
                    6         B.        Plaintiffs’ Breach Of Express Warranty Claims Fail ........................... 4
                    7         C.        Plaintiffs’ Breach Of Implied Warranty Claims Fail ............................ 5
                    8         D.        Plaintiffs’ Statutory Warranty Claims Fail ........................................... 6
                    9         E.        Plaintiffs’ Fraud-Based Claims Fail Because Plaintiffs Do Not
                                        Plead A Material Omission Or A Duty To Disclose ............................ 7
                 10
                              F.        The Economic Loss Rule Bars Plaintiffs’ Negligent
                 11                     Misrepresentation Claims ..................................................................... 9
                 12           G.        Plaintiffs Fail To Rebut Toyota’s Arguments As To Why Their
                                        Claims For Equitable Remedies Should Be Dismissed ...................... 10
                 13
                              H.        Statutes Of Limitation Bar Plaintiffs Kennedy And Alley’s
                 14                     Claims ................................................................................................. 11
                 15           I.        Plaintiffs Do Not Have Standing To Pursue Claims Regarding
                                        Vehicles They Did Not Purchase ........................................................ 11
                 16
                 17
                 18
                 19
                 20
                 21
                 22
                 23
                 24
                 25
                 26
                 27
                 28
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW
                                                                                   i               REPLY ISO MOTION TO DISMISS FAC
   LOS ANGELES
           Case 2:17-cv-00035-VAP-KS Document 45 Filed 05/22/17 Page 3 of 18 Page ID #:850



                    1                                           TABLE OF AUTHORITIES
                    2                                                                                                                         Page
                    3   FEDERAL CASES
                    4
                        Bates v. United Parcel Serv., Inc.
                    5      511 F. 3d 974 (9th Cir. 2007) .............................................................................. 12
                    6   Bhatt v. Mercedes-Benz USA, LLC
                    7     No. CV 16-03717 TGH (RAOx) (C.D. Cal. Mar. 9, 2017) .................................. 4
                    8   Byler v. Deluxe Corp.
                           No. 16-cv-493, 2016 WL 8669404 (S.D. Cal. Aug. 18, 2016) ........................... 12
                    9
                 10     East River Steamship Corp. v. Transamerica Delaval, Inc.
                          476 U.S. 858 (1986) ............................................................................................ 10
                 11
                 12     Evans v. Trinity Indus., Inc.
                          137 F. Supp. 3d 877, 882 (E.D. Va. 2015) .......................................................... 11
                 13
                        In re MyFord Touch Consumer Litig.
                 14        46 F. Supp. 3d 936, 970 (N.D. Cal. 2014)............................................................. 5
                 15
                        In re Toyota Motor Corp.
                 16        790 F. Supp. 2d 1152 (C.D. Cal. 2011) ................................................................. 5
                 17     Melton v. Century Arms, Inc.
                 18       No. 16-21008-CIV, 2017 WL 1063449 (S.D. Fla. Mar. 20, 2017)....................... 6
                 19     Salas v. Toyota Motor Sales, U.S.A., Inc.
                 20        No. CV 15-8629 FMO (Ex) (C.D. Cal. Sept. 27, 2016) ................................... 3, 4

                 21     Sater v. Chrysler Group, LLC
                           No. EDCV 14-00700-VAP, 2015 WL 736273 (C.D. Cal. Feb. 20,
                 22        2015) .................................................................................................................. 4, 5
                 23
                        Schneider v. California Dep’t of Corrections
                 24        151 F. 3d 1194 (9th Cir. 1998) .............................................................................. 9
                 25     Silva v. U.S. Bancorp
                 26         No. 5:10-CV-01854, 2011 WL 7096576 (C.D. Cal. Oct. 6, 2011) ..................... 10
                 27     Soo Park v. Thompson
                 28        851 F. 3d 910 (9th Cir. 2017) ................................................................................ 3
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                                     ii               REPLY ISO MOTION TO DISMISS FAC
   LOS ANGELES
            Case 2:17-cv-00035-VAP-KS Document 45 Filed 05/22/17 Page 4 of 18 Page ID #:851



                    1                                            TABLE OF AUTHORITIES
                                                                       (continued)
                    2                                                                                                                           Page
                    3
                        Thomas v. Brett Sports & Entm’t, Inc.
                    4
                          No. 16-cv-00480, 2016 WL 4472995 (C.D. Cal. Aug. 23 2016)........................ 12
                    5
                        Williams v. Yamaha
                    6      851 F. 3d 1015 (9th Cir. 2017) .......................................................................... 4, 8
                    7
                        Wilson v. Frito-Lay N. Am., Inc.
                    8      961 F. Supp. 2d 1134 (N.D. Cal. 2013)............................................................... 12
                    9   Yagman v. General Motors Co.
                 10       No. CV-14-4696-MWF, 2014 WL 4177295 (C.D. Cal. Aug. 22,
                          2014) ...................................................................................................................... 3
                 11
                 12     OTHER CASES

                 13     Beard Plumbing and Heating, Inc. v. Thompson Plastics, Inc.
                          254 Va. 240 (1997) ................................................................................................ 6
                 14
                 15     David v. Hett
                          293 Kan. 679,700 (2011) ..................................................................................... 10
                 16
                        Jackowski v. Borchelt
                 17        174 Wash. 2d 720 (2012) .................................................................................... 10
                 18
                        Maloney v. Indymac Mortg. Servs.
                 19       No. CV 13-04781 DDP ....................................................................................... 11
                 20     Patterson v. BP Am. Prod. Co.
                 21        360 P. 3d 211 (2015) ........................................................................................... 11
                 22     Touchet Valley Grain Growers, Inc. v. Opp & Seibold Gen. Const.,
                 23       Inc.
                          119 Wash. 2d 334 (1992) ...................................................................................... 6
                 24
                        CALIFORNIA STATUTES
                 25
                 26     Cal. Civ. Code § 1559................................................................................................. 6

                 27     OTHER AUTHORITIES
                 28     Rule 8 ........................................................................................................................ 10
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW
                                                                                       iii              REPLY ISO MOTION TO DISMISS FAC
   LOS ANGELES
            Case 2:17-cv-00035-VAP-KS Document 45 Filed 05/22/17 Page 5 of 18 Page ID #:852



                    1                                           TABLE OF AUTHORITIES
                                                                      (continued)
                    2                                                                                                                          Page
                    3
                        Rule 8(a)(3) ............................................................................................................... 10
                    4
                    5   Rule 9(b) ..................................................................................................................... 7
                    6   Rule 12(b)(6)............................................................................................................... 9
                    7
                    8
                    9
                 10
                 11
                 12
                 13
                 14
                 15
                 16
                 17
                 18
                 19
                 20
                 21
                 22
                 23
                 24
                 25
                 26
                 27
                 28
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW
                                                                                       iv               REPLY ISO MOTION TO DISMISS FAC
   LOS ANGELES
           Case 2:17-cv-00035-VAP-KS Document 45 Filed 05/22/17 Page 6 of 18 Page ID #:853



                    1   I.       INTRODUCTION
                    2            Plaintiffs make numerous concessions that confirm that each claim in their
                    3   First Amended Complaint (“FAC”) should be dismissed. First, Plaintiffs do not
                    4   dispute that the fundamental facts needed to show an alleged odor-causing defect—
                    5   the retention of water and mold growth in their HVAC systems—are uniquely
                    6   within their knowledge; yet, they plead these material facts only on “information
                    7   and belief” in violation of Iqbal and Twombly. Plaintiffs do not allege that they
                    8   ever examined their HVAC systems, have ever seen any mold growth or water
                    9   accumulation in those systems, or have ever tested their vehicles for mold.
                 10     Moreover, Plaintiffs’ own defect theory is undermined by the documents they
                 11     incorporate into their FAC, which make clear that there are alternative causes of
                 12     HVAC odors unrelated to the alleged defect. Plaintiffs allege no specific facts to
                 13     link the odors they allegedly have experienced to a defect with their HVAC
                 14     systems—much less facts to demonstrate that nearly every Toyota and Lexus
                 15     vehicle manufactured during the past decade contains an odor-causing defect
                 16     posing an “unreasonable safety hazard.” Plaintiffs’ defect theory is not plausible.
                 17              Second, Plaintiffs make several concessions that are fatal to their breach of
                 18     express warranty claims. Plaintiffs concede that this Court has interpreted nearly
                 19     identical written warranties to exclude design defects like the one alleged here.
                 20     Plaintiffs also concede they never brought their vehicles in for any “repairs and
                 21     adjustments” as required under their written warranties.
                 22              Third, Plaintiffs agree that not all alleged defects render a product
                 23     unmerchantable; yet, Plaintiffs do not allege that the defect renders their vehicles
                 24     unable to provide transportation or otherwise fall below “the most basic degree of
                 25     fitness.” Plaintiffs also concede they are not in privity with Toyota. Thus,
                 26     Plaintiffs’ breach of implied warranty claims fail.
                 27              Fourth, Plaintiffs’ fraud-based claims rest primarily upon a failure to disclose
                 28     theory regarding HVAC odor; yet, Plaintiffs do not dispute that Toyota discloses
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW
   LOS ANGELES
                                                                     1           REPLY ISO MOTION TO DISMISS FAC
                        DB1/ 92240108.7
            Case 2:17-cv-00035-VAP-KS Document 45 Filed 05/22/17 Page 7 of 18 Page ID #:854



                    1   the possibility of HVAC odor in their owners’ manuals. Also, Plaintiffs identify no
                    2   facts to show an “unreasonable safety hazard” with respect to their vehicles or that
                    3   Toyota otherwise had a duty to disclose under their common law fraud claims.
                    4            Fifth, Plaintiffs concede they have not suffered any personal injury or
                    5   property damage; thus, their negligent misrepresentation claims are barred by the
                    6   economic loss rule.
                    7            Sixth, Plaintiffs do not dispute that they may be entitled to an adequate legal
                    8   remedy and there is no distinction between the factual bases for their legal and
                    9   equitable claims. Therefore, their claims for equitable relief fail.
                 10              Lastly, Plaintiffs identify no facts to show that their HVAC systems are the
                 11     same or even similar to the more than 200 other (vastly different) proposed class
                 12     vehicles they never purchased. Article III standing is a threshold jurisdictional
                 13     matter that should be resolved now—before burdensome discovery commences on
                 14     over 200 proposed class vehicles. Plaintiffs have no standing to pursue claims on
                 15     behalf of vehicles they never purchased.
                 16     II.      ARGUMENT
                 17              A.       Plaintiffs Fail To Plead The Existence Of An HVAC Defect.
                 18              Plaintiffs argue that their HVAC systems are defective because they fail to
                 19     “adequately drain . . . condensed water,” leading to mold growth and odor in their
                 20     vehicles. Opp. at 3:9–14. This defect theory is not plausible as to the named
                 21     Plaintiffs because: (1) Plaintiffs rely only on conclusory “information and belief”
                 22     allegations, without alleging facts to show that their HVAC systems actually retain
                 23     water or contain mold growth; and (2) Plaintiffs do not plead specific facts
                 24     connecting the alleged defect in their vehicles to any purported odors from their
                 25     HVAC systems. Mot. at 9:3–12:9.
                 26              Plaintiffs do not dispute that they have not tested their vehicles for mold; that
                 27     they have not examined their HVAC systems; and that there are multiple causes of
                 28     HVAC odor. Further, Plaintiffs do not dispute that whether or not their HVAC
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW
   LOS ANGELES                                                       2           REPLY ISO MOTION TO DISMISS FAC
                        DB1/ 92240108.7
            Case 2:17-cv-00035-VAP-KS Document 45 Filed 05/22/17 Page 8 of 18 Page ID #:855



                    1   systems retain water or contain mold growth are material facts uniquely within their
                    2   possession. See Yagman v. General Motors Co., No. CV-14-4696-MWF, 2014 WL
                    3   4177295, at *3 (C.D. Cal. Aug. 22, 2014) (plaintiff failed to allege a defect, in part,
                    4   because the “[p]laintiff is in the best position to ascertain the condition of the car
                    5   engine, which evidently is still in his possession”). Based on these concessions,
                    6   Plaintiffs have not plausibly pled the alleged defect in their own vehicles.
                    7            Plaintiffs argue that they may plead the alleged defect on “information and
                    8   belief” as long as they provide “‘a statement of facts on which the belief is
                    9   founded.’” Opp. at 6:11–14. This is incorrect. The Ninth Circuit recently made
                 10     clear that “information and belief” allegations are sufficient to satisfy Iqbal only if
                 11     they are “peculiarly within the possession and control of the defendant” or where
                 12     they are based on “factual information” that makes the inference plausible. Soo
                 13     Park v. Thompson, 851 F. 3d 910, 928 (9th Cir. 2017) (internal citation omitted).
                 14     Plaintiffs offer neither. They concede that the critical facts are within their own
                 15     possession and control, and they do not identify any additional facts to show that
                 16     the vehicles have mold or retain any type of condensed water.
                 17              Nor are allegations of odors sufficient to plausibly plead a defect, given that
                 18     Plaintiffs admit to the existence of alternative causes of HVAC odor unrelated to
                 19     any alleged defect. See Opp. at 6:11–7:2; FAC at Exhs. A, B, C, and D (e.g.,
                 20     “[b]lockage of the evaporator housing drain pipe;” odors from air fresheners and
                 21     pets that accumulate in the HVAC system, etc.). Plaintiffs’ argument that Toyota
                 22     has tried to “raise facts contrary to the complaint” is not well taken. Opp. at 5:20–
                 23     6:3. Instead, Toyota properly refers to the very documents Plaintiffs incorporate
                 24     into their FAC, and these documents identify alternative sources of HVAC odor—
                 25     which Plaintiffs admit “directly contradict[] the allegations in the First Amended
                 26     Class Action Complaint (Opp. at 2:11–14).” See Mot. at 7:28–8:6 (incorporation
                 27     by reference doctrine).
                 28              The two unpublished district court decisions cited by Plaintiffs—Salas v.
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW
   LOS ANGELES                                                       3          REPLY ISO MOTION TO DISMISS FAC
                        DB1/ 92240108.7
            Case 2:17-cv-00035-VAP-KS Document 45 Filed 05/22/17 Page 9 of 18 Page ID #:856



                    1   Toyota Motor Sales, U.S.A., Inc., No. CV 15-8629 FMO (Ex) (C.D. Cal. Sept. 27,
                    2   2016) and Bhatt v. Mercedes-Benz USA, LLC, No. CV 16-03717 TGH (RAOx)
                    3   (C.D. Cal. Mar. 9, 2017) (cited in a notice of supplemental authority (Dkt. 44))—
                    4   fail to support Plaintiffs’ claims here. Unlike Salas and Bhatt, Plaintiffs here have
                    5   attached documents as part of their FAC that negate their allegations of a defect,
                    6   namely, technical documents describing alternative sources of odor unrelated to any
                    7   defect, and Toyota has properly presented owners’ manuals disclosing the
                    8   possibility of HVAC odor. Neither Salas nor Bhatt considered the propriety of
                    9   “information and belief” allegations under these circumstances.1 Because the
                 10     particular characteristics of Plaintiffs’ FAC refute the plausibility of their defect
                 11     allegations, all of their claims fail.
                 12              B.       Plaintiffs’ Breach Of Express Warranty Claims Fail.
                 13              Plaintiffs’ breach of express warranty claims fail because: (1) Toyota and
                 14     Lexus express warranties only cover “materials or workmanship” and not design
                 15     defects; and (2) Plaintiffs concede they did not seek any repairs during the warranty
                 16     period, as required by their written warranties. Mot. at 12:17–13:28.
                 17              Plaintiffs argue that their express warranties cover design defects. Opp. at
                 18     8:19–9:18. But as this Court has previously held, design defects are not covered by
                 19     warranties limited to “materials or workmanship.” Sater v. Chrysler Group, LLC,
                 20     No. EDCV 14-00700-VAP (DTBx), 2015 WL 736273, at *4 (C.D. Cal. Feb. 20,
                 21     2015). Nor do Plaintiffs identify any ambiguities in the warranty language at issue
                 22     in this case so that it could possibly extend to design defects.
                 23              Plaintiffs also argue that they have pled a manufacturing defect covered by
                 24     the express warranty. Opp. at 9:3–4. But this Court has previously rejected similar
                 25
                        1
                 26       Further, the Salas order was issued before the Ninth Circuit’s decision in Williams
                        v. Yamaha, 851 F. 3d 1015 (9th Cir. 2017), which confirms that an “unreasonable
                 27     safety hazard” is required to plead a duty to disclose under state consumer
                 28     protection laws, and that dispositive issue was not raised in Bhatt. See Sec. II.E
MORGAN, LEWIS &
                        (discussing requirement for “unreasonable safety hazard”).
 BOCKIUS LLP
 ATTORNEYS AT LAW
   LOS ANGELES                                                      4           REPLY ISO MOTION TO DISMISS FAC
                        DB1/ 92240108.7
           Case 2:17-cv-00035-VAP-KS Document 45 Filed 05/22/17 Page 10 of 18 Page ID #:857



                    1   attempts where the complaint focuses on a design defect and lacks any specific
                    2   allegations of a manufacturing defect. Sater, 2015 WL 736273, at *4 & n.5.
                    3   Contrary to Plaintiffs’ suggestion (Opp. at 9:8–10), they cannot use the discovery
                    4   process to try to meet their pleading burden.
                    5            Lastly, Plaintiffs argue they did not have to seek any repairs because any
                    6   such efforts would have been “futile.” Opp. at 9:19–10:2, citing U.C.C. § 2-719(2).
                    7   Plaintiffs do not cite a single case under any applicable state law recognizing this
                    8   exception—because there is no such exception. Before any warranty is found to
                    9   have “fail[ed] its essential purpose,” the seller must be given an opportunity to
                 10     repair or replace the product, regardless of what the consumer believes the outcome
                 11     may be. See In re MyFord Touch Consumer Litig., 46 F. Supp. 3d 936, 970 (N.D.
                 12     Cal. 2014) (dismissing claims where plaintiffs failed to seek repairs and noting that
                 13     plaintiffs cited no cases establishing a futility exception); In re Toyota Motor Corp.,
                 14     790 F. Supp. 2d 1152, 1174 (C.D. Cal. 2011) (applying principle).2
                 15              C.       Plaintiffs’ Breach Of Implied Warranty Claims Fail.
                 16              Plaintiffs concede that the implied warranty of merchantability under
                 17     applicable state laws only “requires that products possess ‘the most basic degree of
                 18     fitness for ordinary use.’” Opp. at 11:6–8. Plaintiffs fail to allege specific facts that
                 19     the alleged defect rendered their vehicles unusable for transportation or caused the
                 20     vehicles to fall below the “most basic degree of fitness.” Mot. at 14:1–15:11.
                 21              Plaintiffs argue they have pled a breach of implied warranty because mold
                 22     “pose[s] a serious health risk, and the trapped water can also disrupt the operation
                 23     of vehicles’ airbag systems.” Opp. at 12:4–13. As discussed in Section II.E and in
                 24     2
                         Also, Plaintiffs do not plausibly allege that presenting their vehicles for repair
                 25     would have been futile. Plaintiffs reference the 1997 TSB (inapplicable to the
                 26     proposed class vehicles) and the 2005 Toyota course manual, which address HVAC
                        odor generally and not the defect alleged by Plaintiffs. Further, more recent
                 27     documents attached to the FAC confirm that “repairs and adjustments” may be
                 28     available to mitigate and minimize HVAC odor. See, e.g., FAC at Exh. B (2011
MORGAN, LEWIS &
                        TSB re: newly designed evaporator) and Exh. C (2013 TSB re: charcoal filter).
 BOCKIUS LLP
 ATTORNEYS AT LAW
   LOS ANGELES                                                      5          REPLY ISO MOTION TO DISMISS FAC
                        DB1/ 92240108.7
           Case 2:17-cv-00035-VAP-KS Document 45 Filed 05/22/17 Page 11 of 18 Page ID #:858



                    1   Toyota’s opening brief (see Mot. at 19:24–20:23), the safety risks asserted by
                    2   Plaintiffs are speculative and conclusory. Plaintiffs fail to plausibly establish that
                    3   (i) their vehicles have levels of mold that pose a health hazard (given the judicially
                    4   noticeable fact that mold can be found in nearly every environment); (ii) trapped
                    5   water exists in their HVAC systems that could impact their airbag systems (given
                    6   Plaintiffs’ exclusive reliance on a recall notice that does not involve their vehicles);
                    7   or (iii) their vehicles are otherwise unsafe.
                    8              Plaintiffs’ breach of implied warranty claims also fail because they concede
                    9   they are not in privity with Toyota. Plaintiffs argue, however, that Virginia and
                 10     Florida law do not require privity and that a third-party beneficiary (“TPB”)
                 11     exception excuses the privity requirement under California and Washington law.
                 12     Opp. at 12:14–13:13. But more recent and well-settled Florida authority and
                 13     controlling Virginia law stand for the opposite proposition—that privity is required
                 14     where, as here, the plaintiffs seek economic losses. See, e.g., Melton v. Century
                 15     Arms, Inc., No. 16-21008-CIV, 2017 WL 1063449, at *7 (S.D. Fla. Mar. 20, 2017);
                 16     Beard Plumbing and Heating, Inc. v. Thompson Plastics, Inc., 254 Va. 240, 245
                 17     (1997). And while California and Washington law may recognize a TPB exception
                 18     to the privity rule under narrow circumstances, Plaintiffs do not allege any facts to
                 19     support its application here. Plaintiffs have not pled that the “the sum of interaction
                 20     and expectations between the purchaser[s] [Plaintiffs] and the manufacturer
                 21     [Toyota]” demonstrate that a TPB contract exists. See Touchet Valley Grain
                 22     Growers, Inc. v. Opp & Seibold Gen. Const., Inc., 119 Wash. 2d 334, 345–47
                 23     (1992) (finding the TPB exception met where “the manufacturer knew the identity,
                 24     purpose, and requirements of the purchaser’s specifications and shipped the
                 25     [product] directly to the purchaser”); accord Cal. Civ. Code § 1559.
                 26              D.       Plaintiffs’ Statutory Warranty Claims Fail.
                 27              Plaintiffs do not dispute that their failure to allege a breach of express or
                 28     implied warranty under state law requires dismissal of their Magnuson-Moss
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW
   LOS ANGELES                                                        6          REPLY ISO MOTION TO DISMISS FAC
                        DB1/ 92240108.7
           Case 2:17-cv-00035-VAP-KS Document 45 Filed 05/22/17 Page 12 of 18 Page ID #:859



                    1   Warranty Act (“MMWA”) claim and Plaintiff Dey’s Song-Beverly Act claim.
                    2   Opp. at 13:15–23; Mot. at 15:14–18.
                    3            Plaintiffs also concede they did not avail themselves of Toyota’s informal
                    4   dispute resolution (“IDR”) process as required under the MMWA, yet argue that it
                    5   would have been futile to do so. Mot. at 15:19–16:1; Hare Decl., e.g., at Exh. 6
                    6   (exemplar warranty guide). As discussed above, Plaintiffs’ futility argument fails.
                    7   See, supra, Sec. II.B and fn. 2. Plaintiffs’ futility argument also fails because the
                    8   IDR process allows for remedies other than just repairs and includes resolving
                    9   disputes about warranty coverage.
                 10              E.       Plaintiffs’ Fraud-Based Claims Fail Because Plaintiffs Do Not
                 11                       Plead A Material Omission Or A Duty To Disclose.
                 12              Plaintiffs have not alleged an omission-based claim against Toyota under the
                 13     heightened pleading standard of Rule 9(b) because: (1) Toyota discloses the
                 14     possibility of HVAC odor in the owners’ manuals; (2) Plaintiffs fail to allege an
                 15     “unreasonable safety hazard” necessary to establish a duty to disclose under state
                 16     consumer protection laws; and (3) Plaintiffs fail to plead any “exclusive”
                 17     knowledge exception necessary to support a duty to disclose under certain common
                 18     law fraud theories. Mot. at 16:4–25:6.3
                 19              Plaintiffs do not meaningfully oppose these arguments. First, Plaintiffs do
                 20     not dispute that Toyota discloses the possibility of HVAC odor in the owners’
                 21     manuals and that the information contained in the owners’ manuals were available
                 22     at the time of purchase. Thus, Plaintiffs’ chief complaint—the possibility of HVAC
                 23     odor—is disclosed to consumers, which negates any omission-based theory. See
                 24     Mot. at 18:4–19, citing Barakezyan v. BMW of N. Am., LLC, 2016 WL 2840803,
                 25     *12 (C.D. Cal. Apr. 7, 2016) (defendant satisfied duty to disclose because it
                 26
                 27     3
                          Plaintiffs appear to have abandoned their affirmative misrepresentation theory of
                 28     liability, and in any event, do not identify an affirmative misrepresentation by
MORGAN, LEWIS &
                        Toyota that does not amount to “mere puffery.” Mot. 16:14–17:16.
 BOCKIUS LLP
 ATTORNEYS AT LAW
   LOS ANGELES                                                      7          REPLY ISO MOTION TO DISMISS FAC
                        DB1/ 92240108.7
           Case 2:17-cv-00035-VAP-KS Document 45 Filed 05/22/17 Page 13 of 18 Page ID #:860



                    1   “disclosed the potential for brake noise in its owner’s manual,” even though manual
                    2   did not state the alleged underlying “defect” causing the noise).
                    3            Second, Plaintiffs try to avoid their obligation to plead an “unreasonable
                    4   safety hazard” by mischaracterizing the Ninth Circuit’s recent decision in Williams,
                    5   851 F. 3d 1015, as applying only when the defect manifests after expiration of the
                    6   express warranty period.4 Opp. at 22:12–27. Not so. Williams involved an alleged
                    7   defect that manifested both during and after the express warranty period, and the
                    8   Ninth Circuit stated in no uncertain terms that to plead a “failure to disclose”
                    9   theory, a plaintiff must plead that the alleged defect caused a non-speculative
                 10     “unreasonable safety hazard.” Williams, 851 F. 3d at 1026 (emphasis added).
                 11              The safety issues alleged by Plaintiffs are speculative and do not meet the
                 12     requirements set forth in Williams for an “unreasonable safety hazard.” Mot. at
                 13     19:24–20:23. Plaintiffs do not allege that they tested for any mold growth or that
                 14     any mold exists in their vehicles in excess of what exists in the ambient air. Id.
                 15     Likewise, Plaintiffs do not allege any problem with their air bags; indeed, the entire
                 16     basis for the alleged safety issue relating to water potentially entering the airbag
                 17     module rests on a document that (1) has nothing to do with HVAC odor, (2)
                 18     involves vehicle models that no named Plaintiff purchased, and (3) expressly states
                 19     that it does not cover vehicles owned by Plaintiffs because “[t]he HVAC assembly
                 20     used on other vehicles is of a different design.” Id. Here, again, the documents
                 21     upon which Plaintiffs themselves rely refute their allegations.
                 22              Third, Plaintiffs do not dispute that no duty to disclose exists generally in
                 23     arms-length transactions where no fiduciary relationship exists. While Plaintiffs
                 24     seek to invoke the “exclusive” knowledge exception (for those states that recognize
                 25     this exception), they plead no facts to do so. Mot. at 22:11–25:6. Plaintiffs
                 26
                 27     4
                         Plaintiffs’ reliance on pre-Williams district court cases for the proposition that an
                 28     “unreasonable safety hazard” is not a prerequisite to establish a duty to disclose is
MORGAN, LEWIS &
                        unavailing. Opp. at 21:23–22:11.
 BOCKIUS LLP
 ATTORNEYS AT LAW
   LOS ANGELES                                                       8           REPLY ISO MOTION TO DISMISS FAC
                        DB1/ 92240108.7
           Case 2:17-cv-00035-VAP-KS Document 45 Filed 05/22/17 Page 14 of 18 Page ID #:861



                    1   reference unidentified testing and consumer complaints, recalls, and TSBs, but they
                    2   do not explain how these conclusory allegations establish Toyota’s knowledge
                    3   about an alleged defect in—much less an “unreasonable safety hazard” caused by—
                    4   Plaintiffs’ HVAC systems at the time of their purchases. Opp. at 17:13–17.
                    5   Further, Plaintiffs do not dispute that the publicly available sources of information
                    6   in the FAC, including various repair and customer complaint websites, refute the
                    7   plausibility of “exclusive” knowledge by Toyota. FAC at ¶ 56; Mot. at 22:11–25:6.
                    8            Lastly, Plaintiffs argue that Toyota made “partial disclosures [through its
                    9   owners’ manuals] giving rise to a duty to disclose.” Opp. at 29:3–4. But Plaintiffs
                 10     have pled no facts in support of this theory, which cannot now be raised for the first
                 11     time in their opposition.5 Moreover, Plaintiffs’ unpled argument proves why its
                 12     omission theory fails: Toyota fully disclosed the potential for HVAC odor in
                 13     Plaintiffs’ vehicles and that there are ways to mitigate or reduce such odor. There
                 14     was no omission.
                 15              F.       The Economic Loss Rule Bars Plaintiffs’ Negligent
                 16                       Misrepresentation Claims.
                 17              Plaintiffs agree that each applicable state law applies the economic loss rule
                 18     (“ELR”) to bar negligence claims based on a defective product when a plaintiff
                 19     only seeks economic losses and does not seek recovery resulting from personal
                 20     injury or damage to other property. Opp. at 23:3–6; Mot. at 25:9–28. To avoid this
                 21     bar, Plaintiffs suggest that their defective HVAC systems may have caused damage
                 22     by “contaminating the passenger compartment.” Opp. at 23:7–17. Not only is this
                 23     allegation implausible, it is not pled in Plaintiffs’ FAC and cannot be considered in
                 24     ruling on the instant motion. See Schneider, 151 F. 3d at 1197 n. 1.
                 25              Plaintiffs also unsuccessfully argue that the ELR does not bar their negligent
                 26
                 27     5
                         See Schneider v. California Dep’t of Corrections, 151 F. 3d 1194, 1197 n. 1 (9th
                 28     Cir. 1998) (“‘[N]ew’ allegations contained in the . . . opposition [to a motion to
MORGAN, LEWIS &
                        dismiss] . . . are irrelevant for Rule 12(b)(6) purposes”).
 BOCKIUS LLP
 ATTORNEYS AT LAW
   LOS ANGELES                                                        9         REPLY ISO MOTION TO DISMISS FAC
                        DB1/ 92240108.7
           Case 2:17-cv-00035-VAP-KS Document 45 Filed 05/22/17 Page 15 of 18 Page ID #:862



                    1   misrepresentation claims under each state law, except California law, because
                    2   “Toyota violated duties independent of any contractual obligations.” Opp. 23:18–
                    3   24:12. But Plaintiffs’ relationship with Toyota is governed by their warranties, and
                    4   Plaintiffs fail to allege that Toyota had a tort duty arising independently of any
                    5   contractual obligation. See Sec. II.E; Mot. at 18:20–25:6; see, e.g., East River
                    6   Steamship Corp. v. Transamerica Delaval, Inc., 476 U.S. 858, 868 (1986) (no
                    7   independent tort duty where plaintiffs’ losses were economic in nature because “the
                    8   injury suffered [][was] the failure of the product to function properly” and the
                    9   “contracting party can seek to recoup the benefit of its bargain”).6
                 10              G.       Plaintiffs Fail To Rebut Toyota’s Arguments As To Why Their
                 11                       Claims For Equitable Remedies Should Be Dismissed.
                 12              Plaintiffs’ claims for equitable remedies should be dismissed because (1)
                 13     Plaintiffs may be entitled to an adequate remedy at law; (2) Plaintiffs do not allege
                 14     any facts in support of their equitable remedies distinguishable from the facts in
                 15     support of their legal remedies; and (3) unjust enrichment is unavailable because
                 16     Plaintiffs plead the existence and enforceability of an express contract. Mot. at
                 17     26:1–27:21. Plaintiffs fail to address directly these arguments, and, thus, concede
                 18     them. See, e.g., Silva v. U.S. Bancorp, No. 5:10-CV-01854, 2011 WL 7096576, at
                 19     *4 (C.D. Cal. Oct. 6, 2011) (applying principle to dismiss claims).
                 20              Plaintiffs’ only argument is that Rule 8(a)(3) allows parties to plead in the
                 21     alternative. Opp. 24:13–26. But courts in the Ninth Circuit have recognized that
                 22     when an express contract is pled, as is the case here, “Rule 8 does not allow a
                 23     plaintiff to circumvent state law by stating a claim for both express and quasi
                 24
                 25     6
                          Instead of addressing the cases cited by Toyota, Plaintiffs rely on factually
                 26     distinguishable authorities inapplicable to the instant case. See, e.g., Jackowski v.
                        Borchelt, 174 Wash. 2d 720, 734 (2012) (ELR did not apply because fiduciary duty
                 27     existed per Washington statutes governing real estate transactions); David v. Hett,
                 28     293 Kan. 679,700 (2011) (holding narrowly that the ELR did not bar homeowners
MORGAN, LEWIS &
                        from asserting negligent performance claims against a residential contractor).
 BOCKIUS LLP
 ATTORNEYS AT LAW
   LOS ANGELES                                                      10          REPLY ISO MOTION TO DISMISS FAC
                        DB1/ 92240108.7
           Case 2:17-cv-00035-VAP-KS Document 45 Filed 05/22/17 Page 16 of 18 Page ID #:863



                    1   contract.” Maloney v. Indymac Mortg. Servs., No. CV 13-04781 DDP AGRx, 2014
                    2   WL 6453777, at *7 (C.D. Cal. Nov. 17, 2014) (internal citation omitted).
                    3   Moreover, Plaintiffs’ argument fails because, notwithstanding the ability to plead in
                    4   the alternative, Plaintiffs do not allege facts to support the availability of an
                    5   equitable remedy in the first instance.
                    6            H.       Statutes Of Limitation Bar Plaintiffs Kennedy And Alley’s Claims.
                    7            Plaintiffs Kennedy and Alley do not dispute that, as pled, they respectively
                    8   experienced the alleged defect at least seven and six years ago; thus, any applicable
                    9   statutes of limitation for their claims under Virginia and Colorado law have long
                 10     expired. Mot. at 27:22–28:16. Plaintiffs argue that their claims survive based on
                 11     the doctrine of equitable tolling due to fraudulent concealment. Opp. at 25:15–
                 12     26:7. As Plaintiffs recognize, they “must establish that the defendant undertook an
                 13     affirmative act designed or intended . . . to obstruct the plaintiff’s right to file her
                 14     action.” Evans v. Trinity Indus., Inc., 137 F. Supp. 3d 877, 882 (E.D. Va. 2015).
                 15     Colorado law also requires a plaintiff to allege she was “unable, by reasonable
                 16     diligence, to discover facts necessary to determine the existence of a claim for
                 17     relief.” Patterson v. BP Am. Prod. Co., 360 P. 3d 211, 221 (2015). Here, Plaintiffs
                 18     do not identify an intentional act by Toyota that prevented them from timely filing
                 19     their claims or otherwise allege facts that Plaintiff Alley (or any other Plaintiff)
                 20     could not have discovered any supposed odor-causing HVAC defect through
                 21     reasonable diligence.
                 22              I.       Plaintiffs Do Not Have Standing To Pursue Claims Regarding
                 23                       Vehicles They Did Not Purchase.
                 24              Plaintiffs’ claims regarding vehicles they did not purchase should be
                 25     dismissed because Plaintiffs do not have standing to pursue claims regarding
                 26     models of vehicles they did not purchase. Mot. at 28:19–30:24. Plaintiffs do not
                 27     address the first line of authority—which Toyota submits is the proper approach.
                 28              Even under the more flexible standing test, Plaintiffs have not alleged facts
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW
   LOS ANGELES                                                      11          REPLY ISO MOTION TO DISMISS FAC
                        DB1/ 92240108.7
           Case 2:17-cv-00035-VAP-KS Document 45 Filed 05/22/17 Page 17 of 18 Page ID #:864



                    1   showing that the more than 200 different model year vehicles, and any supposed
                    2   omissions about them, are “substantially similar.” Id. Plaintiffs exclusively argue
                    3   TSBs addressing HVAC odor are sufficient to demonstrate that all of the proposed
                    4   class vehicles are “substantially similar.” Opp. at 26:17–19. But those TSBs
                    5   merely state that HVAC odors may naturally occur, have multiple causes, and may
                    6   be mitigated through various measures. See FAC at Exhs. A–D. They do not
                    7   suggest that all proposed class vehicles, spanning ten years and ranging from a
                    8   subcompact car to an SUV, have “substantially similar” HVAC systems or
                    9   experience the defect alleged by Plaintiffs. Indeed, one of the exhibits attached to
                 10     Plaintiffs’ FAC explains that HVAC assemblies for the proposed class vehicles
                 11     have “different design[s].” FAC at Exh. E [Dkt. 34-6 at ECF p. 7].
                 12              Further, this Court should address the question on whether Plaintiffs have
                 13     standing to assert claims on behalf of absent class members now, rather than
                 14     waiting until class certification, as urged by Plaintiffs. Opp. at 26:25–27:15.
                 15     Standing is a “threshold” jurisdictional issue that should be decided at the outset of
                 16     the case before “proceeding to the merits.” Bates v. United Parcel Serv., Inc., 511
                 17     F. 3d 974, 985 (9th Cir. 2007); see also Wilson v. Frito-Lay N. Am., Inc., 961 F.
                 18     Supp. 2d 1134, 1142 (N.D. Cal. 2013). This is especially true here, where Plaintiffs
                 19     seek to engage in massive class-wide discovery into more than 200 different model
                 20     year vehicles to which they have no connection. The cases cited by Plaintiffs are
                 21     inapposite. One denied a motion to strike class allegations as untimely under local
                 22     rules. See Thomas v. Brett Sports & Entm’t, Inc., No. 16-cv-00480, 2016 WL
                 23     4472995, at *2 (C.D. Cal. Aug. 23 2016). The other court found standing because,
                 24     unlike here, the “product ordered and the service provided is the same” for all
                 25     putative class members. Byler v. Deluxe Corp., No. 16-cv-493, 2016 WL 8669404,
                 26     at *6 (S.D. Cal. Aug. 18, 2016). Put simply, Plaintiffs lack standing to pursue
                 27     claims regarding hundreds of different vehicles to which they have no connection.
                 28
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW
   LOS ANGELES                                                     12          REPLY ISO MOTION TO DISMISS FAC
                        DB1/ 92240108.7
           Case 2:17-cv-00035-VAP-KS Document 45 Filed 05/22/17 Page 18 of 18 Page ID #:865



                    1
                        Dated: May 22, 2017                 MORGAN, LEWIS & BOCKIUS LLP
                    2                                       David L. Schrader
                    3                                       Esther K. Ro
                                                            Jahmy S. Graham
                    4
                    5
                                                            By /s/ David L. Schrader
                    6
                                                               David L. Schrader
                    7                                          Esther K. Ro
                                                               Jahmy S. Graham
                    8
                                                               Attorneys for Defendant
                    9                                          Toyota Motor Sales, U.S.A., Inc.
                 10
                 11
                 12
                 13
                 14
                 15
                 16
                 17
                 18
                 19
                 20
                 21
                 22
                 23
                 24
                 25
                 26
                 27
                 28
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW
   LOS ANGELES                                         13          REPLY ISO MOTION TO DISMISS FAC
                        DB1/ 92240108.7
